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14 Counsel for Defendants

15
                                 UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17
                                    SAN FRANCISCO DIVISION
18
19   AMERICAN FEDERATION OF            ) Case No. 3:25-cv-1780-WHA
     GOVERNMENT EMPLOYEES, et al.,     )
20                                     )
     Plaintiffs,                       ) DECLARATION OF YURI S. FUCHS
21                                     )
         v.                            )
22                                     )
     UNITED STATES OFFICE OF PERSONNEL )
23   MANAGEMENT, et al.,               )
                                       )
24   Defendants.                       )
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     FUCHS DECL.
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 1      I, YURI S. FUCHS, declare as follows:

 2          1.      I am a Trial Attorney in the United States Department of Justice and the attorney of

 3 record for Defendants in this action. I submit this declaration in support of the parties’ Stipulation and

 4 [Proposed] Order to Amend Scheduling Order filed concurrently herewith. The facts set forth in this

 5 declaration are within my personal knowledge or based upon documents and information I have received

 6 in the course of this litigation.

 7          2.      Counsel for Defendants expect to be unavailable due to personal travel and annual leave

 8 during the period of June 3-19, 2025.

 9          3.      This is the parties’ first joint request to modify the summary judgment deadlines in this

10 matter. The parties also previously stipulated to continue the government’s deadline to respond to the

11 Complaint. See Dkt. No. 203.

12          4.      The requested modification will directly affect the summary judgment schedule, which is

13 the only current remaining event in this matter apart from Defendants’ obligations under this Court’s

14 April 18, 2025 preliminary injunction. See Dkt. No. 202.

15          I declare under penalty of perjury under the laws of the United States that the above is true and

16 accurate to the best of my information, knowledge, and belief. Executed this 1st day of May, 2025, in

17 Washington, DC.

18                                                        /s/ Yuri S. Fuchs
                                                          YURI S. FUCHS
19                                                        Trial Attorney
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     FUCHS DECL.
